CHOI & ITO                                                      K&L Gates LLP
Attorneys at Law
                                                         JEFFREY T. KUCERA
CHUCK C. CHOI                                Email: jeffrey.kucera@klgates.com
ALLISON A. ITO                            Southeast Financial Center, Suite 3900
Email: cchoi@hibklaw.com                         200 South Biscayne Boulevard
Email: aito@hibklaw.com                              Miami, Florida 33131-2399
TOPA FINANCIAL CENTER
700 Bishop Street, Suite 1107                                     JON N. EDEL
Honolulu, Hawaii 96813                             Email: jon.edel@klgates.com
Telephone: (808) 533-1877                     300 South Tryon Street, Suite 1000
Facsimile: (808) 566-6900                       Charlotte, North Carolina 28202

Proposed Attorneys for Debtor and                          EMILY K. MATHER
Debtor-in-Possession Wing Spirit Inc.         Email: emily.mather@klgates.com
                                             4350 Lassiter at North Hills Avenue
                                                                        Suite 300
                                                  Raleigh, North Carolina 27609

                                             Proposed Attorneys for Debtor and
                                           Debtor-in-Possession Wing Spirit Inc.

              IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF HAWAII


 In re                                        Case No. 20-01383

 WING SPIRIT INC.,                            Chapter 11

                    Debtor and Debtor
                    in Possession




   U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 1 of 65
     MOTION OF THE DEBTOR FOR ENTRY OF AN INTERIM ORDER
      (1) AUTHORIZING THE DEBTOR TO OBTAIN POST-PETITION
         FINANCING ON AN INTERIM BASIS, GRANTING SENIOR
        POSTPETITION SECURITY INTERESTS AND ACCORDING
              SUPERPRIORITY ADMINISTRATIVE EXPENSE
           STATUS PURSUANT TO SECTIONS 364(c) AND 364(d)
             OF THE BANKRUPTCY CODE, (2) AUTHORIZING
            THE USE OF CASH COLLATERAL, (3) MODIFYING
               THE AUTOMATIC STAY, AND (4) GRANTING
                     RELATED RELIEF; EXHIBIT A

        Wing Spirit Inc. (the “Debtor”), the debtor and debtor in possession in the

above-captioned chapter 11 case (the “Chapter 11 Case”), hereby moves

(the “Motion”), pursuant to sections 105, 362, 363, 364(c), 364(d), and 507 of title

11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6004, and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Rules 4001-2 of the Local Bankruptcy Rules for the District of Hawaii

(the “Local Rules”), for entry of an interim order, substantially in the form attached

hereto as Exhibit A (the “Interim Order”) and, following a final hearing, a final

order, among other things1:

     a) authorizing the Debtor to obtain a secured post-petition interim financing
        facility (the “Interim DIP Facility”), in the form of a term loan in the aggregate
        amount up to $399,310.13 (plus interest, costs, fees, and other expenses and
        amounts provided for in the DIP Term Sheet (defined below) and the Interim
        Order, pursuant to the terms and conditions set forth in that certain Terms and
        Conditions of Proposed Senior Secured, Super-Priority Debtor-in-Possession
        Credit Facility, attached as Exhibit 1 to the Interim Order (the “DIP Term

1
        Capitalized terms used but not defined in this paragraph shall have the meanings given to them in the DIP
        Term Sheet.


                                                       2
    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 2 of 65
    Sheet”), by and between the Debtor and HT Holdings Co. Limited (the “DIP
    Secured Lender”);

 b) authorizing the Debtor to continue negotiating the terms of a secured
    post-petition final financing facility (the “Final DIP Facility” and, together
    with the Interim DIP Facility, the “DIP Facility”), in the form of a delayed
    draw, multiple draw term loan in an amount (and upon terms) still to be
    negotiated between the Debtor and the DIP Secured Lender, which will be
    subject to a final order approving such facility (the “Final Order”);

 c) authorizing the Debtor to execute and deliver the DIP Term Sheet and to
    perform such other and further acts as may be required in furtherance of the
    Interim DIP Facility and the DIP Term Sheet;

 d) authorizing the Debtor to draw on the Interim DIP Facility in an amount not
    to exceed the First Interim DIP Advance, subject to the conditions precedent
    set forth in the DIP Term Sheet, and to use proceeds of the Interim DIP
    Facility to pay for, among other things, working capital, general corporate
    purposes of the Debtor, and the expenses associated with the administration
    of the Chapter 11 Case, but only in accordance with the then-current Budget
    (attached to the Interim Order as Exhibit 2);

 e) granting allowed superpriority administrative expense claim status in the
    Chapter 11 Case to the Interim DIP Facility and all obligations arising
    thereunder (collectively, the “DIP Obligations”);

 f) granting to the DIP Secured Lender automatically perfected first-priority
    security interests in and liens on substantially all of the property, assets, or
    interests in property of the Debtor and the Debtor’s “estate” (as defined in the
    Bankruptcy Code) (collectively, the “DIP Collateral”) to secure all DIP
    Obligations, subject to the Senior Third Party Liens (as defined in the DIP
    Term Sheet), and excluding Avoidance Actions but, subject to and only
    effective upon the entry of a Final Order granting such relief, not the proceeds
    thereof;

 g) authorizing the Debtor’s waiver of any right to surcharge against the DIP
    Collateral pursuant to Section 506(c) of the Bankruptcy Code or otherwise,

                                        3
U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 3 of 65
    subject to and only effective upon the entry of a Final Order granting such
    relief;

 h) modifying the automatic stay imposed by Section 362 of the Bankruptcy Code
    solely to the extent necessary to provide the DIP Secured Lender with the
    relief necessary to implement and effectuate the terms and provisions of the
    orders approving, on an interim basis, the DIP Term Sheet, and each other
    document or agreement prepared and executed in connection therewith
    (collectively, the “DIP Documents”); and

 i) scheduling a final hearing (the “Final Hearing”) to be held on or before
    December 14, 2020, to consider entry of a final order (the “Final Order”)
    authorizing the Debtor’s access additional financing not yet negotiated as part
    of the DIP Term Sheet and any requested relief not granted under the Interim
    Order on a final basis, all as set forth in this Motion and the DIP Term Sheet.




                                       4
U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 4 of 65
            INTRODUCTORY STATEMENT AND
COMPLIANCE WITH GUIDELINES FOR FINANCING STIPULATIONS2
             Term                            Description                            Location in Documents
    Borrowing Limits           $399,310.13                                  DIP Term Sheet definitions of “First
                                                                            Interim DIP Advance” and any further
                                                                            advances as agreed to by the parties
    Interest Rate             3.0% per annum on outstanding loans, and      DIP Term Sheet definitions of “Non-
                              2.0% per annum in excess thereof upon         Default Interest Rate” and “Default
                              the occurrence of an Event of Default         Interest Rate”
    Fees                      Reimbursement of DIP Secured Lender’s         Interim Order ¶¶ 2, 6; DIP Term Sheet
                              professional fees and costs, whether pre-     description of Fees and Expenses
                              or post-petition as set forth in the DIP
                              Term Sheet
    Maturity Date             Ninety days after the Petition Date, or       DIP Term Sheet definition of “Maturity
                              such other date as the DIP Secured Lender     Date”
                              consents in writing
    Use of Proceeds of        Disbursement pursuant to the Budget           DIP Term Sheet description of “Use of
    Post-petition Loan and    attached to this Motion as Exhibit C;         Proceeds” and “Budget and Variances”
    Cash Collateral           subject to the potential variance from such
                              line items not to exceed 10% of the
                              allotted amount
    Security, Priority, and   Consensual Priming Liens                      Interim Order ¶¶ 5–8; DIP Term Sheet
    Adequate Protection                                                     description of “Collateral Security”
                              Superpriority Administrative Claims
    Events of Default         Events of Default include:                    Interim Order ¶ 15–16; DIP Term Sheet
                                                                            description of “Events of Default”
                                Conversion to Chapter 7;
                                Filing/support    of    a   plan  of
                                 reorganization that does not provide
                                 for payment of the obligations
                                 outstanding under the Interim DIP
                                 Facility (the “DIP Obligations”);
                                Confirmation     of   a    plan     of
                                 reorganization that does not provide
                                 for payment of the DIP Obligations;
                                Appointment of a trustee without
                                 consent of the DIP Secured Lender or
                                 the filing of a motion for such
                                 appointment which the Debtor fails to
                                 timely oppose;




2
           This chart is provided for summary purpose only, and to the extent there is any conflict between the terms
           included herein and those included in the DIP Term Sheet and/or the Interim Order, the DIP Term Sheet
           and/or Interim Order shall control. Notwithstanding the foregoing, the Debtor and DIP Secured Lender are
           in the process of negotiating the terms of the Final DIP Facility, so the terms hereof are subject to change,
           and the Debtor reserves all rights related thereto.


                                                            5
     U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 5 of 65
                   Appointment of an examiner with
                    enlarged powers under section 1106 of
                    the Bankruptcy Code with prior
                    consent of the DIP Secured Lender or
                    the filing of a motion for such
                    appointment which the Debtor fails to
                    timely oppose;
                   Entry of an order amending,
                    supplementing, staying, vacating, or
                    otherwise modifying the Interim DIP
                    Facility or the Interim or Final Order
                    approving the DIP Facility, without
                    prior consent of the DIP Secured
                    Lender;
                   Any attempt by the Debtor or other
                    party in interest to obtain an order to
                    invalidate, reduce, or impair the claims
                    of the DIP Secured Lender or subject
                    the DIP Collateral to surcharge under
                    section 506(c) of the Bankruptcy
                    Code;
                   Any request by the Debtor for approval
                    of post-petition financing other than
                    the Interim DIP Facility that would not
                    repay the DIP Obligations thereunder
                    in full on the date of closing such other
                    facility;
                   Any attempt by the Debtor to obtain an
                    order substituting any assets for a
                    portion or all of the DIP Collateral;
                   Entry of an order granting liens or
                    claims senior to or pari passu with the
                    DIP Liens;
                   Any attempt by the Debtor to assert, or
                    any determination by the Court that,
                    the DIP Liens are invalid;
                   Any payment on, or application for
                    authority to pay, any prepetition claim
                    owing to terminated employees or
                    lease rejection damages without
                    consent of the DIP Secured Lender or
                    as set forth in the Budget;
                   A final order is entered granting any
                    creditor a with a claim greater than
                    $25,000 relief from the automatic stay;
                   Failure to make all payments under the
                    Interim DIP Facility when due;
                   Failure to pay any         post-petition
                    material indebtedness;



                                               6
U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 6 of 65
                          Breach of any covenant set forth in any
                           DIP Financing Document;
                          Any material representation or
                           warranty by any Debtor is incorrect or
                           misleading in any material respect
                           when made;
                          Exclusivity shall have been terminated
                           or the Debtor has agreed to such
                           termination; or
                          The Debtor takes any action to restrict
                           or prohibit the DIP Secured Lender
                           from submitted a “credit bid” for any
                           of the Debtor’s assets
Section 506(c) Waiver   Upon entry of a final order approving the     Interim Order ¶ 13; DIP Term Sheet
                        DIP Facility, Debtor waives any right to      description of “506(c)/Equities of the
                        surcharge DIP Collateral, whether under       Case”
                        section 506(c) or 105 of the Bankruptcy
                        Code or other applicable law
                        Upon entry of a final order approving the
                        DIP Facility, DIP Secured Lender shall
                        not be subject to the “equities-of-the-
                        case” exception under section 552(b) of
                        the Bankruptcy Code or other equitable
                        doctrines of “marshaling”
Indemnification         Debtor agrees to indemnify DIP Secured        DIP Term Sheet        description   of
                        Lender, its officers, directors, employees,   “Indemnification”
                        attorneys,      agents,      and      other
                        representatives against all claims,
                        damages, losses, liabilities, and expenses
                        to which they may become liable arising
                        out of or related to or in connection with
                        the Interim DIP Facility, the DIP
                        Financing Documents, or any act, event,
                        or transaction related thereto




       In support of this Motion, the Debtor respectfully represent as follows:

                              JURISDICTION AND VENUE

       1.         The United States Bankruptcy Court for the District of Hawaii

(the “Court”) has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The Motion is a

core proceeding pursuant to 28 U.S.C. § 157(b).
                                                     7
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 7 of 65
         2.    The statutory predicates for the relief requested in this Motion are

sections 105, 362, 363, 364(c), 364(d), and 507 of the Bankruptcy Code; Bankruptcy

Rules 2002, 4001, 6004, and 9014; and Local Rule 4001-2.

                                   BACKGROUND

I.       Commencement of the Chapter 11 Case

         3.    On November 29, 2020, (the “Petition Date”), the Debtor commenced

the Chapter 11 Case by filing a voluntary petition for relief under chapter 11 of the

Bankruptcy Code with the Court.

         4.    The Debtor continues to operate its businesses as a debtor-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of

the date of this Motion, no trustee, examiner, or statutory committee has been

appointed in the Chapter 11 Case.

         5.    A detailed description of the Debtor and its business, and the facts and

circumstances supporting this Motion, are set forth in greater detail in the

Declaration of Teijiro Handa in Support of Chapter 11 Petition, First Day Motions,

and Applications (the “First Day Declaration”), filed contemporaneously herewith

and incorporated herein by reference. Capitalized terms used but not otherwise

defined in this Motion shall have the meanings provided in the First Day Declaration.




                                           8
     U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 8 of 65
II.     Overview of Debt Structure

        6.      The Debtor is an air charter broker. Historically, the Debtor’s business

was primarily focused on exclusive, VIP-level transportation between the Hawaiian

Islands. Due to the Coronavirus global pandemic, however, which precipitated

sweeping governmental lockdowns and travel restrictions, the Debtor’s business in

recent months has been primarily “medevac” trips to shuttle the sick around the

Hawaiian Islands for medical care, through the Debtor’s Hawaii Emergency Air Lift

(HEAL) business segment.3

        7.      General Unsecured Debts. Although the Debtor has no secured bank

debt obligations, it has incurred various general unsecured debts in the course of

operating its business. Nevertheless, the Debtor’s third-party debt obligations

outstanding as of the Petition Date comprise relatively modest debts accrued or

owing to trade creditors as well as various lease and sublease obligations for aircraft,

hangar space, and housing/corporate headquarters. As described further in the First

Day Declaration, these unsecured obligations include approximately $5,869,959.51

owed to approximately 112 trade creditors, which amount includes obligations due

under sublease covering the aircraft used by the Debtor to conduct its business.




3
        Additionally, the Debtor has historically had a “maintenance segment” of the business which is not currently
        operating.


                                                        9
    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 9 of 65
       8.    Notwithstanding this relatively modest debt load, the Debtor has

suffered financial hardship due to the continuing Coronavirus global pandemic,

which has stifled the Debtor’s business operations as a result of the ensuing

lockdowns and travel restrictions.

III.   The Interim DIP Facility Is
       Critical to the Debtor’s Continued Operations

       9.    The Debtor requires immediate access to the Interim DIP Facility in

order to sustain its operations and administer its Chapter 11 Case. The Debtor has

employees and trade creditors that depend on the Debtor to satisfy these obligations,

and as noted above, the Coronavirus pandemic has stressed the Debtor’s operations

and financial condition. Accordingly, the Debtor requires access to the First Interim

DIP Advance during the first fourteen days of the Chapter 11 Case, or it will be

forced to shutter operations.

       10.   With access to the Interim DIP Facility, however, the Debtor fully

intends to continue satisfying its ongoing obligations on a post-petition basis. Any

such cessation of meeting its obligations would force the Debtor to shut down its

business and convert this case to one under chapter 7, resulting in the immediate loss

of approximately 44 jobs. Further, the Debtor would be unable to restructure and

continue operating as a going concern, all to the detriment of its other creditor

constituencies.



                                         10
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 10 of 65
      11.    Thus, the Debtor has an immediate need for the First Interim DIP

Advance and will have a continuing need for access to the final balance of the DIP

Facility during the pendency of this Chapter 11 Case.

IV.   The Debtor’s Decision to Obtain the
      Interim DIP Facility from the DIP Secured Lender

      12.    As explained further in the First Day Declaration, due to the Debtor’s

current financial condition and the impact the Coronavirus pandemic has had on the

airline travel industry, the Debtor was unable to obtain post-petition financing from

traditional lending sources—instead, relying on the support of the DIP Secured

Lender for a future stake in the business. Due to the DIP Secured Lender and

Debtor’s aligned interests in seeing the Debtor continue operating, and their mutual

belief that the Debtor’s business will be profitable if it can weather the Coronavirus

pandemic, the DIP Secured Lender has provided the Debtor favorable terms under

the Interim DIP Facility, which the Debtor does not believe it would not be able to

obtain otherwise.

      13.    Notwithstanding the Debtor and DIP Secured Lender’s beliefs, given

the Debtor’s current situation and the unknown future prospects for the Debtor and

the airline industry in general, the Debtor has been unable to generate interest in

providing financing from other sources in this case. Further, as explained in the First

Day Declaration, the controversy surrounding the Debtor’s subleases of its aircraft

has precipitated this filing on an expedited basis, which has limited the Debtor’s

                                          11
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 11 of 65
options for such traditional financing. As such, the Interim DIP Facility as offered

by the DIP Secured Lender was the best offer for post-petition financing available

to the Debtor.

                               BASIS FOR RELIEF

I.    The Interim DIP Facility Should Be Approved
      under Bankruptcy Code Section 364(c) and 364(d)(1)

      14.    The Debtor needs cash to meet ongoing obligations necessary to run its

business and administer its Chapter 11 Case. Pursuant to section 364(c) and

364(d)(1) of the Bankruptcy Code, the Debtor requests authority to enter into the

Interim DIP Facility as an administrative expense, having priority over other

administrative expenses and secured by a senior lien on substantially all of the

property of the Debtor’s estate, subject to Senior Third Party Liens. The Debtor is

not aware of any other liens or interests in its property that exist or would be primed.

      15.    Pursuant to section 364(c) of the Bankruptcy Code, a debtor may,

in the exercise of business judgment, incur secured debt if the debtor has been

unable to obtain unsecured credit and the borrowing is in the best interest of the

estate. See, e.g., In re Ames Dept. Stores, 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990)

(reasoning, with respect to post-petition credit, courts “permit debtors-in-

possession to exercise their basic business judgment consistent with their fiduciary

duties”); In re Simasko Production Co., 47 B.R. 444, 448–49 (D. Colo. 1985)



                                          12
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 12 of 65
(authorizing interim financing agreement where debtor’s best business judgment

indicated financing was necessary and reasonable for benefit of estate).

        16.   Section 364(c) of the Bankruptcy Code provides, in pertinent part,

that:

              (c) If the trustee is unable to obtain unsecured credit
              allowable under section 503(b)(1) of this title as an
              administrative expense, the court, after notice and a
              hearing, may authorize the obtaining of credit or the
              incurring of debt –

                    (1) with priority over any and all administrative
                    expenses of the kind specified in section 503(b) or
                    507(b) of this title;

                    (2) secured by a lien on property of the estate that
                    is not otherwise subject to a lien; or

                    (3) secured by a junior lien on property of the estate
                    that is subject to a lien.

11 U.S.C. § 364(c).

        17.   In satisfying the standards of section 364 of the Bankruptcy Code,

a debtor need not seek credit from every available source, but should make a

reasonable effort to seek other sources of credit available under sections 364(a) and

(b) of the Bankruptcy Code. See, e.g., In re Republic Airways Holdings Inc.,

No. 16-10429, 2016 WL 2616717, at *10 (Bankr. S.D.N.Y. May 4, 2016) ("The

debtor is not required to seek credit from every possible source but rather must

demonstrate that it has made a reasonable effort to seek other sources of credit


                                          13
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 13 of 65
available under section 364(a) and (b).") (citing In re Ames Dep't Stores, 115 B.R.

34, 40 (Bankr. S.D.N.Y. 1990)) (quotation marks omitted); In re Crouse Grp., Inc.,

71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (debtor seeking secured credit under

section 364(c) of the Bankruptcy Code must establish that it was unable to obtain

unsecured credit pursuant to section 364(b) of the Bankruptcy Code), modified on

other grounds, 75 B.R. 553 (Bankr. E.D. Pa. 1987); see also In re Stanley Hotel,

Inc., 15 B.R. 660, 663 (D. Colo. 1981) (finding that section 364(d)(1)(A) of the

Bankruptcy Code had been satisfied where two banks refused to provide unsecured

credit to debtor).

      18.    In evaluating such a decision to enter into post-petition financing under

section 364(c), courts generally defer to the business judgment of the debtor.

See Ames Dept. Stores, 115 B.R. at 38 (reasoning, with respect to post-petition

credit, courts “permit debtors-in-possession to exercise their basic business

judgment consistent with their fiduciary duties”); Simasko Production Co., 47 B.R.

at 448–49 (authorizing interim financing agreement where debtor’s best business

judgment indicated financing was necessary and reasonable for benefit of estate).

Accordingly, courts will not “second-guess a business decision, so long as

corporate management exercised a minimum level of care in arriving at the

decision." In re Los Angeles Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del.

2011).


                                         14
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 14 of 65
      19.    Here, the Debtor has exercised sound business judgment in determining

to enter into the Interim DIP Facility. Although the Debtor was faced with the

daunting task of filing a bankruptcy on a short timeline, the Debtor’s management

engaged in a fulsome review of the Debtor’s liquidity position and financing options

in the process of negotiating the Interim DIP Facility, including by engaging

professionals to assist in the process. At the conclusion of this process, the Debtor

determined that the Interim DIP Facility was the best option to secure funding on the

best terms available to enable it to commence this Chapter 11 Case and keep the

business operating. As noted above, few other options for financing were available

to the Debtor, and, as such, the Interim DIP Facility provides the Debtor with the

best option moving forward. Accordingly, the Debtor submits that the decision to

enter into the Interim DIP Facility was taken with good care and is the product of its

sound business judgment.

      20.    Further, in negotiating the terms of the Interim DIP Facility, the Debtor

was constantly mindful of its liquidity concerns, abridged timeline for obtaining

financing, and options available for such financing, especially considering the

looming concerns of the Coronavirus pandemic and its impact on the airline

industry. As such, traditional lending options were limited.

      21.    Notwithstanding the foregoing limitations, the Debtor was able to

negotiate the Interim DIP Facility in large part due to the DIP Secured Lender’s


                                         15
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 15 of 65
desire to invest in the Debtor’s business and continue owning a stake in the Debtor

at the conclusion of the Chapter 11 Case. The Debtor does not have access to

financing on better terms than the proposed Interim DIP Facility, as the DIP

Secured Lender here is willing and has consented to accept equity in the Debtor

instead of cash under a plan. The Debtor cannot obtain the financing that it requires

via unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code.

As such, the Interim DIP Facility represents the best terms available to the Debtor,

and the Debtor negotiated the terms thereof in good faith and at arm’s length with

the DIP Secured Lender to ensure the fairness thereof.

      22.    Further, as indicated above, section 364(c) of the Bankruptcy Code

enumerates certain incentives that a bankruptcy court may grant to post-petition

lenders. Such incentives are not exhaustive. Bankruptcy courts frequently have

authorized the use of inducements not specified in the statute. See, e.g., Unsecured

Creditors’ Comm. v. First Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil

Co.), 834 F.2d 599, 605 (6th Cir. 1987) (affirming financing order that prohibited

any challenges to the validity of already existing liens); In re Defender Drug Stores,

126 B.R. 76, 82 (Bankr. D. Ariz. 1991) (authorizing enhancement fee to post-petition

lender), aff’d, 145 B.R. 312, 316 (B.A.P. 9th Cir. 1992) (“Bankruptcy courts . . .

have regularly authorized postpetition financial arrangements containing lender

incentives beyond the explicit priorities and liens specified in section 364.”); In re


                                         16
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 16 of 65
Antico Mfg. Co., 31 B.R. 103, 106 (Bankr. E.D.N.Y. 1983) (authorizing lien on

prepetition collateral to secure post-petition indebtedness).

      23.    The Debtor proposes to grant the DIP Secured Lender certain

enhancements in the form of senior liens against the Debtor’s prepetition and post-

petition assets, debt and security acknowledgements, indemnifications, and waivers

of rights under sections 506(c) and 552 of the Bankruptcy Code. The Debtor

believes that such enhancements are reasonable in return for the funding available

under the Interim DIP Facility. Accordingly, the terms of the Interim DIP Facility

are reasonable and adequate under the circumstances and align the interests of all

parties involved to ensure the Debtor is able to complete a successful emergence

from chapter 11.

      24.    As noted above as well as in the First Day Declaration, the Debtor is in

dire need of immediate liquidity. Absent the funding provided by the Interim DIP

Facility, the Debtor would be forced to cease operations and liquidate its business.

With the Interim DIP Facility, however, the Debtor will be able to continue

operating, stabilize its business, and emerge from the Chapter 11 Case as a going

concern to the benefit of the Debtor’s creditors and stakeholders. In addition, the

Interim DIP Facility is essential for the Debtor to obtain credit from vendors

because the existence of this facility will afford vendors a level of comfort that the

Debtor will be able to pay for the goods and services that it will receive on credit.


                                          17
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 17 of 65
As such, authorizing the Debtor to obtain post-petition financing under the Interim

DIP Facility is necessary to enable to the Debtor to continue operating and is in the

best interest of the Debtor, its estate, and its creditors.

       25.    In short, the Debtor respectfully submits that the Interim DIP Facility

satisfies section 364(c) and (d) of the Bankruptcy Code, as it provides credit to the

Debtor on the best terms available. Accordingly, the Debtor believes that it is fair,

reasonable, and necessary for the Court to approve the Interim DIP Facility and enter

the Interim Order (and, subsequent to the Final Hearing, the Final Order). In addition

to representing the best terms presently available to Debtor, the Interim DIP Facility

is also in the best interests of the Debtor’s estate, as it will provide the Debtor

required funding in order for the Debtor to maintain and operate its business and

administer the Chapter 11 Case. Without the Interim DIP Facility, the Debtor will

likely be forced to terminate its operations and liquidate its assets, which will be to

the detriment of its various stakeholders. The Interim DIP Facility therefore is

plainly in the best interests of Debtor’s estate.

       26.    Based on the foregoing, the DIP Secured Lender should be accorded

the benefits of section 364(e) of the Bankruptcy Code in respect of the Interim DIP

Facility, because the DIP Secured Lender has offered to extend such financing to

the Debtor in good faith.        Further, section 364(e) provides a lender with a

presumption of good faith. Burchinal v. Cent. Wash. Bank (In re Adams Apple,


                                            18
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 18 of 65
Inc.), 829 F.2d 1484, 1488 (9th Cir. 1987) (“[T]he purpose of section 364(e) was

to overcome a good faith lender’s reluctance to extend financing in a bankruptcy

context by permitting reliance on a bankruptcy judge’s authorization.”).

                  INTERIM ORDER AND FINAL HEARING

      27.    Pursuant to Bankruptcy Rule 4001(b)(2) and (c)(2) and Local

Rule 4001-2(d), the Debtor requests that the Court enter the Interim Order to prevent

immediate and irreparable harm to the estate pending a final hearing and set a date

for the Final Hearing within fourteen days of the Petition Date. The Debtor intends

for the Final Order to be in substantially the same form as the Interim Order and will

submit a proposed form no later than two days prior to the Final Hearing.

      28.    The urgent need to preserve the Debtor’s business, and avoid immediate

and irreparable harm to the estate, makes it imperative that the Debtor be authorized

to access post-petition financing on an interim basis and use cash collateral, pending

the Final Hearing, in order to continue its operations and administer the Chapter 11

Case. Without the ability to borrow funds under the Interim DIP Facility and use

cash collateral, the Debtor would be unable to meet its post-petition obligations or

to fund its working capital needs, thus causing irreparable harm to the value of the

Debtor’s estate and ending the Debtor’s reorganization efforts. Accordingly, the

Debtor respectfully requests that, pending the hearing on a Final Order, the Interim

Order be approved in all respects and that the terms and provisions of the Interim


                                         19
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 19 of 65
Order be implemented and be deemed binding and that, after the Final Hearing, the

Final Order be approved in all respects and the terms and provisions of the Final

Order be implemented and be deemed binding.

                           RESERVATION OF RIGHTS

      29.    Notwithstanding the foregoing, the Debtor and the DIP Secured Lender

are continuing to negotiate the terms of the Final DIP Facility. Such terms may

deviate from the terms proposed in the Interim DIP Facility, and the Debtor reserves

all rights related thereto, notwithstanding rights, obligations, or terms included in the

DIP Term Sheet. For the avoidance of doubt, the Debtor reserves the right to

negotiate any financing and lending term included in the Interim DIP Facility as part

of the Final DIP Facility (and seek an order approving such terms) without such

negotiation and request for a corresponding order constituting an Event of Default

under the terms of the Interim Order and/or the Interim DIP Facility.

      WHEREFORE, the Debtor respectfully requests entry of the Interim Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested

herein and granting such other relief as is just and proper.

Dated: Honolulu, Hawaii, November 30, 2020

                                         /s/ Chuck C. Choi

                                         Chuck C. Choi
                                         Proposed Attorney for Debtor and Debtor-in-
                                         Possession Wing Spirit Inc.

                                           20
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 20 of 65
                                 Exhibit A

                          Proposed Interim Order




U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 21 of 65
                                      EXHIBIT A




                      UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF HAWAII

 In re                                               Chapter 11

 WING SPIRIT, INC.,                                  Case No. 20-01383

                Debtor.                              Re Docket No. _______


ORDER (1) AUTHORIZING THE DEBTOR TO OBTAIN POST-PETITION
     FINANCING ON AN INTERIM BASIS, GRANTING SENIOR
     POSTPETITION SECURITY INTERESTS AND ACCORDING
 SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS PURSUANT
  TO SECTIONS 364(c) AND 364(d) OF THE BANKRUPTCY CODE, (2)
 AUTHORIZING THE USE OF CASH COLLATERAL, (3) MODIFYING
   THE AUTOMATIC STAY, AND (4) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”) of the above-captioned debtor (the “Debtor”)

seeking, among other things:

       (1) authority pursuant to sections 363 and 364(c) and (d) to obtain debtor-in-
possession secured financing (the “DIP Facility”) pursuant to the following terms
and agreements (collectively, the “DIP Financing Documents”): (a) this Order, and
any final order entered by the Court with respect to the Motion (the “Final Order”),
and (b) the Wing Spirit, Inc., Terms and Conditions of Proposed Senior Secured,
Super-Priority Debtor-in-Possession Credit Facility, attached hereto as Exhibit B,




801180525.1
  U.S. 10:49AM
11/30/20 Bankruptcy   Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 22 of 65
as amended, modified, and/or supplemented (the “DIP Term Sheet”),1 by and among
the Debtor, as borrower and debtor-in-possession, HT Holdings Co. Limited (the
“DIP Secured Lender”);

       (2) the grant to the DIP Secured Lender of superpriority administrative claim
status pursuant to sections 364(c)(1) and 507(b) of the Bankruptcy Code in
accordance with the terms of this Order;

       (3) authorization for the Debtor’s use of cash collateral (the “DIP Cash
Collateral”), as contemplated by section 363 of the Bankruptcy Code in accordance
with the terms set forth herein;

      (4) modification of the automatic stay to the extent hereinafter set forth and
waiving the fourteen (14) day stay provisions of Federal Rule of Bankruptcy
Procedure 4001(a)(3) and 6004(h); and

     (5) a final hearing setting for the Motion for entry of an order authorizing the
DIP Facility and use of DIP Cash Collateral on a final basis.

       Notice of the Motion, the relief requested therein, and the Interim Hearing (as
defined below) (the “Notice”) having been served by the Debtor in accordance with
Bankruptcy Rule 4001(c) on: (i) the DIP Secured Lender; (ii) the United States
Trustee for the District of Hawaii (the “U.S. Trustee”); (iii) the holders of the twenty
(20) largest unsecured claims against the Debtor’s estate; (iv) all parties known to
the Debtor who hold any liens or security interest in the Debtor’s assets who have
filed UCC-1 financing statements against the Debtor, or who, to the Debtor’s
knowledge, have asserted any liens on any of the Debtor’s assets; (v) the Internal
Revenue Service and all taxing authorities of states in which the Debtor conducts
business; (vi) certain other parties identified in the certificates of service filed with
the Court.

           The Court held an interim hearing with respect to the Motion on

___________, 2020 (the “Interim Hearing”).




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the DIP Term Sheet.

                                                         -2-
801180525.1
11/30/20 10:49AM
    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 23 of 65
         After the Motion and the proceedings before the Court at the Interim Hearing;

and all objections, if any, to the interim relief requested in the Motion having been

withdrawn, resolved or overruled by the Court as reflected on the record established

by the Debtors at the Interim Hearing;

         THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF

FACT AND CONCLUSIONS OF LAW:2

         A.        On November 29, 2020 (the “Petition Date”), the Debtor filed a

voluntary petition for relief pursuant to Chapter 11 of title 11, United States Code,

11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”);3

         B.        The Debtor has continued in the management and operation of its

business pursuant to sections 1107 and 1108, and no trustee or examiner has been

appointed;

         C.        The Debtor gave notice of the Motion as required under the Federal

Rules of Bankruptcy Procedure and any applicable local rules of this Court;

         D.        The Court has core jurisdiction over the Debtor’s bankruptcy case, the

Motion, and the parties and property affected by this Order pursuant to 28 U.S.C. §§

157(b) and 1334, and venue is proper before the Court pursuant to 28 U.S.C. §§ 1408

and 1409;



2
  To the extent, any findings of fact constitute conclusions of law, they are adopted as such, and vice versa, pursuant
to Fed. R. Bankr. P. 7052.
3
  Unless otherwise noted, all statutory references are to the Bankruptcy Code.

                                                        -3-
801180525.1
11/30/20 10:49AM
    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 24 of 65
         E.        As of the date hereof, the United States Trustee has not yet appointed

an official committee of unsecured creditors in this case pursuant to section 1102 (a

“Statutory Committee”);

         F.        The Debtor has admitted, represented and stipulated, the following

(collectively, the “Stipulations”):

                   (1)   the DIP Secured Lender is only willing to provide postpetition

         financing to the Debtor through the DIP Facility and the DIP Financing

         Documents;

                   (2)   the Debtor reasonably and in good faith believes that the use of

         the DIP Cash Collateral and the loans, advances, and other financial

         accommodations to be obtained pursuant to the DIP Facility are sufficient to

         fund all projected legitimate and allowable expenses of its Chapter 11 case

         from the Petition Date during the period to which the Budget (as approved by

         the DIP Secured Lender) pertains; and

                   (3)   the Debtor is a duly organized, validly existing legal entity and

         has the requisite power and authority to own, lease, and operate its property,

         including, without limitation, the DIP Collateral. The Debtor has the requisite

         power and authority to enter into, execute, deliver, and perform its obligations

         under the DIP Financing Documents and this Order and to incur the

         obligations provided for thereon. Except as may be explicitly required in the


                                             -4-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 25 of 65
         DIP Financing Documents, no consent or waiver of, filing with, authorization,

         approval or other action by any shareholder, any federal, state, or other

         governmental authority or regulatory body or any other Person (other than the

         DIP Secured Lender), which has not already been obtained or done, is required

         in connection with the execution, delivery and performance by the Debtor of

         any of the documents required as a condition to the validity or enforceability

         of the DIP Financing Documents, other than entry by this Court of this Order;

         G.        The Debtor is unable to obtain sufficient levels of unsecured credit

allowable under section 503(b)(1) as an administrative expense necessary to

maintain and conduct its business;

         H.        All cash of the Debtors constitutes DIP Cash Collateral;

         I.        The Debtor is unable to obtain secured credit except under the terms

and conditions provided in this Order;

         J.        It is in the best interest of the Debtor’s estate that the Debtor be allowed

to enter into the DIP Facility in order to obtain postpetition secured financing from

the DIP Secured Lender, and use the DIP Cash Collateral subject to and in

accordance with the terms of this Order and the DIP Financing Documents, on an

interim basis under the terms and conditions set forth herein and in the DIP

Financing Documents, as such is necessary to avoid immediate and irreparable harm

to the Debtor’s estate pending the Final Hearing;


                                                -5-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 26 of 65
         K.        The Debtor believes that the extension of credit and financial

accommodations under the DIP Facility and DIP Financing Documents is fair,

reasonable, in good faith, negotiated at arm’s length, reflects the Debtor’s exercise

of prudent business judgment, and is supported by reasonably equivalent value and

fair consideration;

         L.        The DIP Secured Lender is entitled to the protections of section 364(e)

of the Bankruptcy Code;

         M.        The Debtor requires access to the funding available under the DIP

Facility and the DIP Financing Documents in order to satisfy administrative

expenses associated with the operation of its business as a going concern and other

costs relating to the administration of this chapter 11 case, and in order to avoid

immediate and irreparable harm to the Debtor’s estate pending the Final Hearing;

         N.        The DIP Secured Lender is unwilling to provide postpetition financing

to the Debtor, except under the terms of the DIP Financing Documents and this Order

assuring that the liens and the various claims, superpriority claims, and other

protections granted in this Order will not be affected by any subsequent reversal or

modification of this Order or any other order, as provided in section 364(e), which

is applicable to the postpetition financing arrangement contemplated in the DIP

Financing Documents and the use of DIP Cash Collateral contemplated in this Order;

and


                                              -6-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 27 of 65
         O.        Good and sufficient cause exists for the issuance of this Order, to

prevent immediate and irreparable harm to the Debtor’s estate.

      Based upon the foregoing, and after due consideration and good cause
appearing therefor;
IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

         1.        The Motion is granted on an interim basis effective as of the Petition

Date. The Debtor is authorized, pursuant to sections 363 and 364, to enter into the

DIP Facility and DIP Financing Documents, to execute such other and additional

documents necessary or desired to implement the DIP Facility or DIP Financing

Documents, to obtain postpetition secured financing from the DIP Secured Lender,

and to use the DIP Cash Collateral, and the proceeds and products thereof, pursuant

to the terms and conditions of the DIP Financing Documents and this Order to avoid

immediate and irreparable harm to the Debtor’s estate pending the Final Hearing.

The Debtor shall use the advances obtained under the DIP Facility and the DIP

Collateral (and DIP Cash Collateral) only for the purposes and in the amounts set

forth in the DIP Term Sheet attached hereto as Exhibit B and Budget attached hereto

as Exhibit A, subject to the terms and conditions set forth in the DIP Financing

Documents.

         2.        The Debtor shall pay to the DIP Secured Lender all DIP Facility

advances, together with interest thereon accruing pursuant to the DIP Financing

Documents, in full, in cash, at the times set forth in the Budget and DIP Financing

                                             -7-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 28 of 65
Documents, but no later than the Termination Date (as defined in the DIP Term

Sheet). All unpaid principal, interest, fees, costs and expenses in respect of the DIP

Facility shall be due and payable in full by the Debtor on the Termination Date (as

defined in the DIP Term Sheet), whether at maturity, upon acceleration or otherwise

and if such amounts are not paid in full in cash, interest, fees, costs, and expenses in

respect of the DIP Facility shall continue to accrue until paid in full.

         3.        With respect to the Budget:

                   (a) the Debtors’ actual Budget line items shall each be adhered to, by

line item, on a weekly basis and a cumulative basis for the Budget (as defined below)

period then ending, subject to the Budget Variance described below, provided,

however, that amounts not disbursed in a line item shall be deemed to roll over to

subsequent weeks;

                   (b) actual amounts for each Budget line item may not vary

unfavorably from the applicable Budget by more than ten percent (10.0%) per line

item on a weekly basis (the “Budget Variance”);

                   (c) for all fees within the Budget attributable to professionals of the

Debtor or Statutory Committee, the Debtor shall reflect the fees for each separately

retained professional of the Debtor or Statutory Committee on its own line item;




                                              -8-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 29 of 65
                   (d) Any fees payable to professionals retained by the DIP Secured

Lender set forth in the Budget shall not be limited by the amounts set forth in the

Budget.

         4.        No proceeds of the DIP Facility or DIP Cash Collateral shall be used to

(a) permit the Debtor or any other party-in-interest to challenge, contest, or institute

any proceeding to determine (i) the validity, perfection, or priority of any security

interests in favor of any of the DIP Secured Lender or (ii) the enforceability of the

Debtor’s obligations or the obligations of any guarantor under the DIP Financing

Documents; (b) investigate, commence, prosecute or defend (or support any other

person or entity in investigating, commencing, prosecuting, or defending) any claim,

motion, proceeding or cause of action against the DIP Secured Lender or any of its

agents, attorneys, advisors or representatives, including, without limitation, claims

or causes of action relating to lender liability or subordination claims; (c) investigate,

commence, prosecute, or defend (or support any other person or entity in

investigating, commencing, prosecuting, or defending) any claim or proceeding or

cause of action to disallow or challenge the obligations of the Debtor or any

guarantor under the DIP Financing Documents, or (d) fund any acquisitions, capital

expenditures, capital leases, or similar expenditures other than those specifically set

forth in the Budget.




                                              -9-
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 30 of 65
         5.        Pursuant to sections 363 and 364(c) and (d), the DIP Facility funds

advanced pursuant to the terms of this Interim Order (collectively, the “Interim DIP

Advances”) shall be allowed administrative expenses of the Debtor’s estate, which

shall have priority in payment over any other indebtedness and/or obligations now

in existence or incurred hereafter by the Debtor and over all administrative expenses

or charges against property arising in the Debtor’s Chapter 11 case and any

superseding Chapter 7 case including, without limitation, those specified in

Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b), 506(c) (subject to the

entry of the Final Order), 507(a), 507(b), 726, 1113 or 1114, subject and junior only

to the payment of UST Fees (as hereinafter defined) (such claim, the “DIP

Superpriority Claim”). The time of payment of the Interim DIP Advances shall not

be altered, extended or impaired without the consent of the DIP Secured Lender by

any plan or plans of reorganization that may hereafter be accepted or confirmed or

any further orders of the Court which hereafter may be entered.

         6.        The reasonable fees and expenses of the DIP Secured Lender,

regardless of whether such amounts were incurred prior to or after the Petition Date,

shall be payable (without further notice, motion, or application to, order of, or

hearing before, the Court) within ten (10) days after delivery to the Debtor and U.S.

Trustee of a summary statement of the DIP Secured Lender professional fees and

expenses subject to reimbursement by the Debtor; provided, however, that the


                                            - 10 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 31 of 65
Debtor and the U.S. Trustee shall have ten (10) days following the receipt of such

professional fee statement to object to the reasonableness of the fees and expenses

included therein. If any objection is asserted, the Court shall decide the issue and

the Debtor shall not be required to pay any disputed portion of such fees or expenses

until the matter is resolved. For the avoidance of doubt, failure to pay such disputed

fees or expenses while the Court resolves such dispute will not be an Event of

Default, even if it is determined by the Court that such payment should have been

made. The DIP Secured Lender shall have the right to charge the DIP Facility for any

such fees and costs payable by the Debtor; and once charged, such costs shall be added

to the total balance of DIP Facility obligations.

         7.        Pursuant to sections 363, 364(c), and 364(d), as security for the Interim

DIP Advances and other postpetition costs payable under the DIP Financing

Documents, the Debtor is hereby authorized to and is hereby deemed to grant to the

DIP Secured Lender a valid, binding and enforceable lien, mortgage and/or security

interest (a “Lien,” and as so granted to the DIP Secured Lender, the “DIP Lien”) in

all of the Debtor’s presently owned or hereafter acquired property and assets,

whether such property and assets were acquired before or after the Petition Date, of

any kind or nature, whether real or personal, tangible or intangible, wherever located,

and the proceeds and products thereof (collectively, the “DIP Collateral”), excluding

any causes of action that could be brought pursuant to sections 544, 545, 547, 548


                                              - 11 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 32 of 65
of the Bankruptcy Code, or any applicable state fraudulent transfer statutes (the

“Avoidance Actions”); provided, that subject to entry of the Final Order the DIP

Collateral shall include proceeds of (and property received in respect of) Avoidance

Actions (“Avoidance Proceeds”).

         8.        Pursuant to sections 364(c) and (d), the DIP Lien shall be a first priority

senior and priming lien on the DIP Collateral, subject and junior only to (a) the

payment of UST Fees (as hereafter defined) and (b) valid, enforceable, properly

perfected, and unavoidable prepetition Liens that existed on the Petition Date

(“Senior Third Party Liens”). The DIP Lien shall not be subject or subordinate to

any Lien which is avoided and which would otherwise be preserved for the benefit

of the Debtor’s estates under section 551, and in no event shall any person or entity

who pays (or causes to be paid) any of the obligations under the DIP Financing

Documents be subrogated, in whole or in part, to any rights, remedies, claims,

privileges, liens or security interests granted to or in favor of, or conferred upon, the

DIP Secured Lender by the terms of the DIP Financing Documents until such time

as the obligations under the DIP Financing Documents and this Order are

indefeasibly paid in full, in cash. The DIP Lien shall not be subject or subordinate

to Liens arising after the Petition Date, other than Liens granted pursuant to this

Order to the extent set forth in this Order.




                                               - 12 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 33 of 65
         9.        Provided that each of the conditions set forth in this Paragraph are

satisfied, the Debtor shall be authorized to use the DIP Cash Collateral only in

accordance with the terms of the Budget, this Order, and the other DIP Financing

Documents. The satisfaction of each of the following conditions shall constitute a

condition to the Debtors’ authorization to use any DIP Cash Collateral: (i) no Event

of Default under (and as defined in the DIP Term Sheet) shall exist or be continuing;

and (ii) the Termination Date (as defined in the DIP Term Sheet) shall not have

occurred. If, on any date, any of such conditions is not satisfied, then the Debtor

shall not be authorized to use any DIP Cash Collateral unless and until: (i) such use

is consented to by DIP Secured Lender in its sole and absolute discretion; or (ii) such

use of DIP Cash Collateral is authorized by the Court. Absent further order of the

Court, if the Termination Date occurs, then the Debtor shall remit to the DIP Secured

Lender, any DIP Cash Collateral then in the Debtor’s possession for application to

the DIP Facility obligations in a manner selected by the DIP Secured Lender in its

sole discretion.

         10.       The automatic stay provisions of section 362 are hereby modified to

permit (a) the Debtor and the DIP Secured Lender to implement and perform the

DIP Facility and the DIP Financing Documents, including without limitation the

provisions thereof with respect to the collection of Proceeds and (b) the creation and

perfection of all Liens granted or permitted by this Order. The Debtor and the


                                            - 13 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 34 of 65
holders of any DIP Lien shall not be required to enter into any additional security

agreements to create, memorialize, and/or perfect any such liens, or to file UCC

financing statements, mortgages, or other instruments with any other filing authority

or take any other action to perfect any such Liens, which shall be and are deemed

valid, binding, enforceable and automatically perfected by the docket entry of this

Order by the Clerk of the Court. If, however, the holder of any DIP Lien in its sole

and absolute discretion shall elect for any reason to enter into, file, record or serve

any such financing statements or other documents with respect to any such Lien,

then the Debtor shall execute same upon request and the filing, recording or service

thereof (as the case may be) shall be deemed to have been made at the time and on

the date of the docket entry of this Order by the Clerk of the Court.

         11.       The DIP Liens and DIP Superpriority Claims shall be subject to right

of payment of unpaid postpetition fees and expenses of the Clerk of the Court and

the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) in such amount, with respect to the

U.S. Trustee, as agreed to by the U.S. Trustee or as determined by the Court (such

fees, “UST Fees”); provided, however, that UST Fees shall first be paid with any

unencumbered funds available (if any). Any amounts paid from the DIP Collateral

or the proceeds thereof, or funded by the DIP Secured Lender with respect to the

UST Fees to the entry of the Final Order shall be Interim DIP Advances.




                                            - 14 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 35 of 65
         12.       Neither the payment of any professional fees incurred by professionals

of the Debtor or Statutory Committee, nor the use of any proceeds from the DIP

Facility, shall include payment for any fees and expenses, if any, of any such

professionals incurred directly or indirectly, in respect of, arising from or relating to:

                   A.    the initiation, joinder, support, or prosecution of any action

         contesting the indebtedness owed to DIP Secured Lender, or the validity of

         any liens granted to any of such party;

                   B.    preventing, hindering or otherwise delaying (or supporting any

         other person or entity in preventing, hindering or otherwise delaying), whether

         directly or indirectly, the exercise by DIP Secured Lender of any of its rights

         and remedies under the Interim Order, Final Order, or DIP Financing

         Documents, including, without limitation, any attempt to prevent, hinder or

         delay (or supporting any other person or entity in preventing, hindering or

         delaying) the submission of any credit bid by the DIP Secured Lender;

                   C.    the commencement, support, or prosecution of any action or

         proceeding of any claims, causes of action or defenses against the DIP

         Secured Lender, or any of its officers, directors, employees, agents, attorneys,

         affiliates, successors or assigns, including, without limitation, any attempt to

         recover or avoid any claim or interest from the DIP Secured Lender;




                                             - 15 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 36 of 65
                   D.    any request to borrow money other than pursuant to the terms of

         the Interim Order, the Final Order, or the DIP Financing Documents;

                   E.    with respect to the Debtor, any of the Debtor’s Chapter 11

         Professionals, or any of their successors or assigns (including, without

         limitation, any trustee, responsible officer, examiner, estate administrator or

         representative, or similar person appointed in a case for the Debtor under any

         chapter of the Bankruptcy Code) performing or commencing any

         investigation or litigation (whether threatened or pending) by the Debtor or its

         estate with respect to any matter to be specified as not subject to challenge by

         the Debtor pursuant to this Order or the Final Order; or

                   F.    For any other purpose for which proceeds of the DIP Facility

         may not be used pursuant to the DIP Term Sheet.

         13.       Subject to the entry of the Final Order, effective as of the time of

commencement of the Debtor’s bankruptcy cases on the Petition Date:

                   A.    The Debtor waives irrevocably all claims and rights, if any, it or

         its estate might otherwise assert against the DIP Collateral pursuant to

         Bankruptcy Code sections 506(c), 105(a) or any other applicable law;

                   B.    no entity in the course of the Debtor’s bankruptcy case shall be

         permitted to recover from the DIP Collateral (whether directly or through the

         grant of derivative or equitable standing in the name of the Debtor or its estate)


                                              - 16 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 37 of 65
         any cost or expense of preservation or disposition of the DIP Collateral,

         including, without limitation, expenses and charges as provided in Bankruptcy

         Code sections 506(c), 105(a), or any other applicable law;

                   C.   no entity shall be permitted to recover from the DIP Collateral,

         or assert against the DIP Secured Lender, any claim with respect to any unpaid

         administrative expense of the Debtor’s bankruptcy cases, whether or not the

         Debtor’s payment of such administrative claim was contemplated by or

         included in the Budget; and

                   D.   the DIP Secured Lender shall not be subject to the “equities of

         the case” exception of Bankruptcy Code section 552(b), or to the equitable

         doctrines of “marshaling” or any similar claim or doctrine, with respect to any

         DIP Collateral.

         14.       So long as the DIP Facility obligations remain outstanding, unless

consented to in writing by the DIP Secured Lender, the Debtor shall not seek entry

of any further orders in its Chapter 11 Case which authorizes (a) the obtaining of

credit or the incurring of indebtedness pursuant to sections 364(c) or 364(d) of the

Bankruptcy Code that does not repay the DIP Facility in full, in cash, (b) the return

of goods pursuant to section 546(h) of the Bankruptcy Code to any creditor of the

Debtor or to consent to any creditor taking any setoff against any of such creditor’s

prepetition indebtedness based upon any such return pursuant to section 553 of the


                                            - 17 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 38 of 65
Bankruptcy Code or otherwise, or (c) except with respect to Senior Third Party

Liens, any other grant of rights against the Debtor and/or its estate that is secured by

a Lien in the DIP Collateral or is entitled to superpriority administrative status that

does not repay the DIP Facility in full, in cash.

         15.       Upon the occurrence of: (i) an Event of Default (as such term is defined

in the DIP Term Sheet); or (ii) the Debtors’ failure to comply with the terms of this

Order or the Final Order (including, without limitation, its failure to comply with the

Budget, subject to any approved variances), and the giving of written notice thereof

by the DIP Secured Lender to counsel to the Debtor, the Statutory Committee (if

any), and the U.S. Trustee (which notice may be given by any manner of electronic

transmission, the automatic stay being deemed lifted for such purpose) (the “Default

Notice”), then, (i) the DIP Secured Lender shall be fully authorized, in its sole

discretion to cease making DIP Facility advances to the Debtor, (ii) the DIP Secured

Lender shall be fully authorized, in its sole discretion to terminate the Debtor’s use

of the DIP Collateral (including without limitation DIP Cash Collateral) pursuant to

this Order and the Budget, and/or (iii) the DIP Secured Lender shall be fully

authorized, in its sole discretion to immediately terminate the DIP Facility and

demand repayment of the DIP Facility obligations then outstanding.

         16.       Further, upon the occurrence of an Event of Default and transmission

of a Default Notice or upon the Termination Date:


                                              - 18 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 39 of 65
                   A.   the DIP Secured Lender shall have the right, free of the

         restrictions of sections 362 or under any other section of the Bankruptcy Code

         or applicable law or rule (including, without limitation, Bankruptcy Rule

         4001(a)), to take immediate reasonable action to protect the DIP Collateral

         from harm, theft and/or dissipation;

                   B.   with respect to an Event of Default as to which a Default Notice

         has been given, the Debtors, the Statutory Committee (if any), and the U.S.

         Trustee shall have five (5) business days from the date of the Default Notice

         (the “Remedy Notice Period”) to obtain an order of the Court on notice to the

         DIP Secured Lender (a) enjoining or restraining the DIP Secured Lender from

         taking action or exercising rights and remedies (other than any rights and

         remedies set forth in Paragraph 15 herein, which may be exercised

         immediately upon the satisfaction of the conditions set forth in such

         paragraph) based upon the Event of Default specified in the Default Notice;

         or (b) challenging whether an Event of Default in the Default Notice has

         occurred or is continuing without cure (a “Restraint on Remedies”). During

         the Remedy Notice Period, the DIP Secured Lender shall refrain from

         exercising its rights and remedies (other than those which may be exercised

         upon the satisfaction of the conditions set forth in Paragraph 15 and below).

         Immediately upon expiration of the Remedy Notice Period unless a Restraint


                                            - 19 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 40 of 65
         on Remedies has timely been obtained from the Court, or with respect to and

         upon the Maturity Date, immediately:

                         (1)    the DIP Secured Lender shall have the right, free of the

                   restrictions of section 362 or under any other section of the Bankruptcy

                   Code or Bankruptcy Rules (including, without limitation, Bankruptcy

                   Rule 4001(a)), to exercise contractual, legal and equitable rights and

                   remedies as to all or such part of the DIP Collateral as it shall elect, and

                   to apply the Proceeds (as such term is defined below) of the DIP

                   Collateral to the repayment of the DIP Facility obligations; and

                         (2)    the DIP Secured Lender, should it so elect in its sole and

                   absolute discretion as exercised by the filing of an appropriate

                   statement with the Court, shall be deemed to have been granted

                   “peaceful possession” of, and right of access to, all or any portion of

                   the DIP Collateral, by the Debtors.

         17.       The Debtor shall provide the DIP Secured Lender with (i) all financial

statements, certificates, and reports required pursuant to the DIP Term Sheet in

accordance with the timeframes specified therein and (ii) such additional

information as the DIP Secured Lender shall reasonably request from the Debtor.

The DIP Secured Lender and its representatives shall have reasonable access to the

Debtor’s business premises and to the DIP Collateral in order to review and evaluate


                                               - 20 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 41 of 65
the physical condition of any of the DIP Collateral and/or to inspect the financial

records and other records of the Debtors concerning the operation of the Debtors’

business.

         18.       For purposes of this Order, (a) “Proceeds” shall mean both (i) proceeds

(as defined in the Uniform Commercial Code for the State of New York) and (ii) any

and all payments, proceeds or other consideration realized upon the sale, liquidation,

realization, collection or other manner of disposition of the DIP Collateral, whether

in the ordinary course of the Debtors’ business (including without limitation

accounts, receivables, and other proceeds arising from the Debtors’ sales of goods

and/or performance of services) or other than in the ordinary course of the Debtors’

business, and (b) “Disposition” shall mean any sale, liquidation, realization,

collection or other manner of disposition of DIP Collateral other than in the ordinary

course of the Debtors’ business, including without limitation any sale authorized

pursuant to section 363.

         19.       Without the written consent of the DIP Secured Lender, the Debtor

shall not change or alter the deposit, clearing, dominion, lockbox, and similar

accounts maintained by or on behalf of the Debtor for the collection of Proceeds

obtained in the ordinary course of the Debtor’s business (the “Collection Accounts”),

or the cash management systems, treasury management systems, and payment

procedures under which such accounts and systems are administered (the


                                             - 21 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 42 of 65
“Collection Procedures”). The DIP Secured Lender shall be deemed to have control

of all of the Debtor’s bank accounts, and any financial institutions in which such

accounts of the Debtor are located are hereby authorized to act in accordance with

any request of the DIP Secured Lender concerning such accounts, including, without

limitation, requests to turnover funds therein without offset or deduction of any kind.

         20.       The Debtor and any successors to the Debtor, including without

limitation any successor trustee or trustees, shall assign or direct to the DIP Secured

Lender any and all Proceeds realized in any Disposition of any DIP Collateral

outside the ordinary course of business, and immediately deliver any and all such

Proceeds which come into their possession to the DIP Secured Lender in the form

received; provided, however, that the foregoing shall be subject in all respects to (a)

payment of the UST Fees and (b) the priorities of the DIP Lien granted by this Order.

The foregoing is without prejudice to the rights of (a) the DIP Secured Lender, the

Statutory Committee (if any), or any other party to object to any proposed

Disposition, or (b) any third party with respect to the allocated Proceeds of any

Disposition of Collateral encumbered by a Senior Third Party Lien. The DIP

Secured Lender is hereby authorized to credit-bid all or any of the obligations under

the DIP Facility a at any Disposition of any DIP Collateral.

         21.       All Proceeds retained by the DIP Secured Lender shall be applied to the

repayment of the DIP Facility obligations, in a manner selected by the DIP Secured


                                             - 22 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 43 of 65
Lender, until such obligations are paid in full; provided, however, that the foregoing

shall be subject in all respects to the terms and the priorities of liens under this Order.

Such applications of Proceeds shall be free and clear of any claim, charge,

assessment or other liability.

         22.       In making decisions to advance any extensions of credit to the Debtor

pursuant to the DIP Facility or in taking any other actions reasonably related to this

Order or the DIP Financing Documents (including, without limitation, the exercise

of its approval rights with respect to any budget), the DIP Secured Lender shall have

no liability to any third party and shall not be deemed to be in control of the

operations of the Debtor or to be acting as a “control person”, “responsible person”

or other “owner or operator” with respect to the operation or management of the

Debtor (as such terms, or any similar terms, are used in the Internal Revenue Code,

the United States Comprehensive Environmental Response Compensation and

Liability Act, as amended, or any similar Federal or state statute), and the DIP

Secured Lender’s relationship with the Debtor shall not constitute or be deemed to

constitute a joint venture or partnership of any kind between the DIP Secured Lender

and the Debtor.

         23.       This Order shall be binding upon and inure to the benefit of the DIP

Secured Lender, the Debtor, and their respective successors and assigns, including,

without limitation, any trustee, responsible officer, examiner, estate administrator or


                                            - 23 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 44 of 65
representative, or similar person appointed in a case for the Debtor under any chapter

of the Bankruptcy Code. Except as set forth herein with respect to the UST Fees, no

rights are created under this Order for the benefit of any creditor of the Debtor, any

other party in interest in the Debtor’s bankruptcy cases, or any other persons or

entities, or any direct, indirect or incidental beneficiaries thereof.

         24.       Any order dismissing the Debtor’s Chapter 11 Case under section 1112

or otherwise shall be deemed to provide (in accordance with sections 105 and 349

of the Bankruptcy Code) that (a) the DIP Secured Lender’s liens and security

interests in the DIP Collateral shall continue in full force and effect notwithstanding

such dismissal until the DIP Facility obligations are indefeasibly paid and satisfied

in full, in cash; and (b) this Court shall retain jurisdiction, to the extent permissible

under applicable law, notwithstanding such dismissal, for the purposes of enforcing

the DIP Superpriority Claim and the DIP Liens.

         25.       To the extent that any of the provisions of this Order shall conflict with

any provisions of the DIP Term Sheet, or with any order of the Court authorizing the

Debtor to continue the use of prepetition bank accounts, cash management systems,

treasury management systems, or business forms, or any similar orders, this Order

is deemed to control and supersede the conflicting provisions therein.

         26.       The terms and conditions of this Order shall be effective and

immediately enforceable upon its entry by the Clerk of the Court notwithstanding


                                              - 24 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 45 of 65
any potential application of Fed. R. Bankr. P. 6004(h) or otherwise. Furthermore,

to the extent applicable, the notice requirements and/or stays imposed by Fed R.

Bankr. P. 4001(a)(3), 6003(b), and 6004(a) are hereby waived for good and

sufficient cause.

         27.       Nothing in this Order shall preclude the Court from entering a Final

Order containing provisions inconsistent with or contrary to the provisions of this

Order, provided, however, that the DIP Secured Lender shall be entitled to the

benefits and protections of this Order, including the protections afforded pursuant to

section 364(e), with respect to all loans, advances, and other financial,

accommodations made by them pursuant to this Order. The DIP Lien and the

priority afforded the Interim DIP Advances, as set forth in this Order, shall be

binding on the Debtor and any successor trustee or trustees even if this Order is

reversed or modified on appeal with respect to all loans, advances, and other

financial accommodations made by them pursuant to this Order. Except as provided

herein, no Proceeds or DIP Cash Collateral may be used by any party in interest

seeking to modify any of the rights granted to DIP Secured Lender hereunder or in

the DIP Financing Documents.

         28.       The Debtor is authorized to do and perform all acts, to make, execute

and deliver all instruments and documents, and to pay all fees and expenses that may

be required or necessary for the Debtor’s performance under this Order or the DIP


                                            - 25 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 46 of 65
Financing Documents, including, without limitation, (a) the execution of the DIP

Financing Documents, and (b) the payment of the fees and other expenses described

herein or in the DIP Financing Documents as such become due. The Debtor is

further authorized to continue to negotiate any supplemental or modified DIP

Facility terms concerning potential advances after the First Interim DIP Advance (as

defined in the DIP Term Sheet), as well as the terms of any subsequent interim or

final orders related to any such potential DIP Facility advances, and both the Debtor

and DIP Secured Lender reserve all rights regarding such negotiations.

         29.       The Court has considered and determined the matters addressed herein

pursuant to its powers under the Bankruptcy Code, including the power to authorize

the Debtor to obtain credit on terms and conditions to which the Debtor and DIP

Secured Lender have agreed. Thus, each of the terms and conditions constitutes a

part of the authorization under sections 364 of the Bankruptcy Code, and is,

therefore, subject to the protections contained in section 364(e) of the Bankruptcy

Code, regardless of (i) any stay, modification, amendment, vacation, or reversal of

this Order or the DIP Financing Documents or any term hereunder or thereunder;

(ii) the failure to obtain a final order pursuant to Bankruptcy Rule 4001(c)(2), or (iii)

the dismissal or conversion of this chapter 11 case.

         30.       A final hearing with respect to the Motion is scheduled for [________],

2020 at [___________].m. (the “Final Hearing”) before the Honorable Robert J.


                                             - 26 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 47 of 65
Faris, United States Bankruptcy Judge. The Debtors shall promptly mail copies of

this Order (which shall constitute adequate notice of the Final Hearing) to the parties

having been given notice of the Interim Hearing and to any other party that has filed

a Rule 2002 request for service. Any party in interest objecting to the relief sought

at the Final Hearing shall file written objections, and serve them on (i) the Debtor’s

proposed counsel; (ii) the DIP Secured Lender’s counsel, Holland & Knight LLP,

attn: Robert W. Jones, 200 Crescent Court, Suite 1600, Dallas, TX 75201 and [H&K

Local Counsel]; and (iii) the Office of the U.S. Trustee.

                                 END OF ORDER

Submitted by:

CHUCK C. CHOI
ALLISON A. ITO
Email: cchoi@hibklaw.com
Email: aito@hibklaw.com
TOPA FINANCIAL CENTER
700 Bishop Street, Suite 1107
Honolulu, Hawaii 96813
Telephone: (808) 533-1877
Facsimile: (808) 566-6900

Proposed Attorney for the Debtor




                                         - 27 -
801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 48 of 65
                                  Exhibit A

                          Interim Approved Budget

                                (See Attached)




801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 49 of 65
November_Monthly_Cost_detail_201129a_KN




ID      Entity   Dept    Location          Account                       Descriptions                                      Amount          Payment   Pay amount
      1 WS       HEAL    1_Admin           01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 1 person       6,725.19    Pay            6,725.19
      2                                    02_Rentals                    Rent for Harbour court 1610                            3,935.63   Not pay             0.00
      3                                    05_Professional & Technical   Fee for Medical directors                             17,500.00    Pay           17,500.00
      4                                                                  Ambulance billing Consulting                          12,000.00    Pay           12,000.00
      5                                    07_MX&Repair                  Subscription for electric medical record（EMS chart）      976.71    Pay              976.71
      6                                    08_Outside Services           Bank fee                                                   3.95    Pay                3.95
      7                                    09_Supplies                   Medical supplies                                       3,515.78   Not pay             0.00
      8                                                                  Medical equipments                                    12,935.79   Not pay             0.00
      9                                                                  Blood Test Kits                                           88.55   Not pay             0.00
     10                                                                  Cleaner for cleaning aircraft interiors                  115.20   Not pay             0.00
     11                                                                  Oxygen pump                                              127.60   Not pay             0.00
     12                                                                  Ventilator tubes                                         126.61   Not pay             0.00
     13                  Total                                                                                                58,051.01                   37,205.85
     14                  2_Membership      01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 3 persons      9,361.78    Pay            9,361.78
     15                                    08_Outside Services           Credit card fee                                          156.94    Pay              156.94
     16                  合計                                                                                                     9,518.72                   9,518.72
     17                  3_Dispatch        01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 4 persons     12,146.99    Pay           12,146.99
     18                  Total                                                                                                12,146.99                   12,146.99
     19                  4_Honolulu        01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 6 persons     24,882.46    Pay           24,882.46
     20                                    02_Rentals                    Rent for mobile office                                 3,749.42   Not pay             0.00
     21                                    04_Communications             Phone for mobile office                                  891.21    Pay              891.21
     22                                    08_Outside Services           Medical disposal                                          41.88    Pay               41.88
     23                  Total                                                                                                29,564.97                   25,815.55
     24                  5_Kauai           01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 5 persons     21,094.35    Pay           21,094.35
     25                                    02_Rentals                    Rent for base house                                    2,600.00   Not pay             0.00
     26                                    04_Communications             Internet for base house                                  204.34   Not pay             0.00
     27                                    06_Utilities                  Electricity for base house                               203.95   Not pay             0.00
     28                  合計                                                                                                   24,102.64                   21,094.35
     29                  6_Hilo            01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 7 persons     30,729.34    Pay           30,729.34
     30                                    02_Rentals                    Rent for base house                                    2,200.00    Pay            2,200.00
     31                                                                  Rent for airpot office                                 3,000.00    Pay            3,000.00
     32                                    03_Transportaions             Rent-a-car for base                                      302.16    Pay              302.16
     33                                                                  Inter-island transportaions / Clearwater                 245.94   Not pay             0.00
     34                                    04_Communications             Internet for base house                                  222.74    Pay              222.74
     35                                    06_Utilities                  Electricity for base house                               187.70    Pay              187.70
     36                  Total                                                                                                36,887.88                   36,641.94
     37                  7_Maui            01_Salary and Wages           Salary（Include fringe benefits）（HEAL） / 5 persons     23,684.95    Pay           23,684.95
     38                                    02_Rentals                    Rent for base house                                    2,700.00    Pay            2,700.00
     39                                    03_Transportaions             Rent-a-car for base                                      272.87    Pay              272.87
     40                                                                  Inter-island transportaions / Thomas                     107.80   Not pay             0.00
     41          Total                                                                                                       197,037.84                 142,423.41




                                   U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 50 of 65                                                1/2
November_Monthly_Cost_detail_201129a_KN




ID      Entity   Dept    Location           Account                       Descriptions                                            Amount          Payment   Pay amount
     42          VIP                        01_Salary and Wages           Salary（Include fringe benefits）（VIP） / 1 person              3,661.25    Pay            3,661.25
     43                                     08_Outside Services           Fee for credit card terminal contract                          163.26    Pay              163.26
     44                  Total                                                                                                         3,824.51                   3,824.51
     45          Total                                                                                                                 3,824.51                   3,824.51
     46          HQ      Hanger             02_Rentals                    Rent for State Hanger                                        9,996.48    Pay            9,996.48
     47                                     04_Communications             Phone for State hanger                                       1,627.78    Pay            1,627.78
     48                                     06_Utilities                  Disposal services for State hanger                             125.66    Pay              125.66
     49                                                                   Electricity for State hanger                                 1,878.55    Pay            1,878.55
     50                                     09_Supplies                   Water server for State hanger                                  343.58   Not pay             0.00
     51                  Total                                                                                                        13,972.05                  13,628.47
     52                  Aircraft           02_Rentals                    Aircraft Lease Fee N191WS/ SN155                            73,681.65   Not pay             0.00
     53                                                                   Aircraft Lease Fee N192WS/ SN156                            73,681.65   Not pay             0.00
     54                                                                   Aircraft Lease Fee N193WS/ SN160                            73,681.65   Not pay             0.00
     55                                                                   Aircraft Lease Fee N992WS/ SN073                            48,633.75   Not pay             0.00
     56                                     07_MX&Repair                  Flight ready program P2 - Calender                           2,973.80   Not pay             0.00
     57                                     10_Insurance                  Insurance for Aircrafts                                     20,866.31    Pay           20,866.31
     55                                     17_ACI                        Fee for Aircraft Operations                                212,058.06                 177,550.28
     59                  Total                                                                                                       505,576.87                198,416.59
     60                  HQ                 01_Salary and Wages           Salary（Include fringe benefits）（Fin & Acct） / 3 persons     11,865.06    Pay           11,865.06
     61                                                                   Salary（Include fringe benefits）（CEO office） / 4 persons     13,742.31    Pay           13,742.31
     62                                                                   Salary（Include fringe benefits）（Admin） / 1 persons           2,522.21    Pay            2,522.21
     63                                                                   Salary（Include fringe benefits）（HR / Legal） / 1 person       5,349.44    Pay            5,349.44
     64                                     02_Rentals                    Parking fee                                                    435.00   Not pay             0.00
     65                                                                   Rent for Printer                                               955.14   Not pay             0.00
     66                                                                   Rent for Harbour court 1600                                 24,844.83   Not pay             0.00
     67                                                                   Rent for Harbour court 1610                                 11,806.90   Not pay             0.00
     68                                     04_Communications             Internet for Harbour court                                     334.94    Pay              334.94
     69                                                                   Phone for Harbour court                                      1,116.52    Pay            1,116.52
     70                                     05_Professional & Technical   Fee for Visual Systems                                       1,712.56    Pay            1,712.56
     71                                                                   Capitol Consultant of Hawaii                                13,612.56   Not pay             0.00
     72                                                                   Tokyo Planning Office                                      250,000.00   Not pay             0.00
     73                                     08_Outside Services           Bank fee                                                       302.87    Pay              302.87
     74                                     09_Supplies                   Parking validation ticket                                      275.00   Not pay             0.00
     75                                                                   Tea in break room                                              664.27   Not pay             0.00
     76                                     10_Insurance                  General liability insurance                                  3,478.27    Pay            3,478.27
     77                                                                   Auto insurance                                                 592.97    Pay              592.97
     78                  Total                                                                                                       343,610.85                  41,017.15
     79          Total                                                                                                               863,159.77                253,062.21
     80 Total                                                                                                                      1,064,022.12                399,310.13




                                    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 51 of 65                                                      2/2
                                  Exhibit B

                               DIP Term Sheet

                                (See Attached)




801180525.1
11/30/20 10:49AM
 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 52 of 65
                                                                      HK Non-Binding Discussion Draft Nov. 29, 2020
                                                                                NOT A COMMITMENT TO LEND

                                                   Wing Spirit, Inc.
                                              Terms and Conditions of
                                       Proposed Senior Secured, Super-Priority
                                          Debtor-in-Possession Credit Facility

The terms outlined below in these Terms and Conditions (this “DIP Term Sheet”) are the terms and
conditions for a senior secured, super-priority debtor-in-possession interim credit facility (hereinafter referred
to as the “DIP Facility”) to be made available to the Debtor. This DIP Term Sheet, the Interim Order and the
Final Order shall collectively constitute the exclusive and definitive documentation and agreement among the
parties for the DIP Facility (the “DIP Financing Documents”). Unless otherwise defined herein,
capitalized terms shall have the meaning given to them as set out in the Section titled “Other Definitions”
below.


    Borrower/Debtor:                               Wing Spirit, Inc. 1

    Amount and Type of Facility:                   The first interim advance under the DIP Facility (the “First
                                                   Interim DIP Advance”) will consist of a single term advance in
                                                   the principal amount of $399,310.13. As set forth in the “Fees and
                                                   Expenses” section herein, the DIP Secured Lender shall have the
                                                   right to charge the DIP Facility for any fees and expenses incurred
                                                   by the DIP Secured Lender and payable to the DIP Secured Lender
                                                   hereunder, and once charged, such costs shall be added to the total
                                                   balance of DIP Facility obligations. At the DIP Secured Lender’s
                                                   sole discretion, additional DIP Facility advances, in amounts
                                                   determined by the DIP Secured Lender in its sole discretion, may
                                                   be furnished by the DIP Secured Lender to the Debtor after further
                                                   notice and a Bankruptcy Court hearing approving such subsequent
                                                   advances. Nothing herein shall obligate the DIP Secured Lender
                                                   to make any advances, other than the First Interim DIP Advance.

    DIP Secured Lender:                            HT Holdings Co. Limited.

    Borrowing Availability:                        DIP Facility advance(s) shall be limited by Budget and the terms
                                                   of this DIP Term Sheet.

    Budget and Variances:                          Subject to the Budget Variances (as defined below), each of the
                                                   line items within the Budget shall be adhered to, by line item, on
                                                   a weekly basis and a cumulative basis for the Budget period then
                                                   ending as described below, provided however that amounts not
                                                   disbursed in a line item shall be deemed to roll over to
                                                   subsequent weeks. The Debtor’s disbursements for fees and
                                                   expenses of third party professionals engaged by or for the
                                                   benefit of the Debtor or the Statutory Committee (if any),
                                                   including success or transaction fees (collectively,
                                                   “Professional Fees”) shall be reported in a manner so that
                                                   Professional Fees for each retained professional are reflected on
                                                   its own line item. Any fees payable to professionals retained by
                                                   the DIP Secured Lender set forth in the Budget shall not be

1
     Note: the term sheet has been prepared on the assumption that Wing Spirit Inc. is the sole debtor.




    U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 53 of 65
                             limited by the amounts set forth in the Budget.

                             Actual amounts for each Budget line item may not vary
                             unfavorably from the applicable Budget by more than ten
                             percent (10.0%) per line item on a weekly basis (the “Budget
                             Variances”).

                             On or before Wednesday of each week, commencing with the
                             first full week following the Petition Date, the Debtor shall
                             deliver to the DIP Secured Lender an Approved Budget
                             Compliance Report.

Fees:                        The Debtor agrees to pay the costs and expenses of the DIP
                             Secured Lender as set forth in the Section titled “Fees and
                             Expenses” below.

Termination Date:            The earliest to occur of:

                             (a)     the Maturity Date;

                             (b)     December 14th, 2020, if the Final Order has not been
                                     entered on or before that date;

                             (c)     acceleration of the obligations under the DIP Facility as a
                                     result of an Event of Default;

                             (d)     the effective date of a confirmed plan of reorganization or
                                     liquidation that provides for indefeasible payment in full,
                                     in cash of all obligations owing under the DIP Facility
                                     and is otherwise acceptable to the DIP Secured Lender
                                     in its sole discretion;

                             (e)     the date which is the closing date of any sale of all or
                                     substantially all of any Debtor’s assets;

                             (f)     the entry of an order by the Bankruptcy Court:
                                      (i) granting relief from the automatic stay permitting
                                            foreclosure of any assets of the Debtor with a value
                                            in excess of $25,000 in the aggregate;
                                      (ii) granting any motion by the DIP Secured Lender to
                                            terminate the use of cash collateral or lift the stay
                                            or otherwise exercise remedies against any cash
                                            collateral;
                                      (iii) appointing a trustee or an examiner with special
                                            powers; or
                                      (iv) dismissing or converting the Chapter 11 Case;

                             (g)     the filing or support by the Debtor of a plan of
                                     reorganization that:
                                      (i) does not provide for indefeasible payment in full,
                                          in cash of all obligations owing under the DIP



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 54 of 65
                                           Facility on the effective date of such plan or
                                      (ii) is not otherwise acceptable to the DIP Secured
                                           Lender in its sole discretion; and

                             (h)      entry of a Bankruptcy Court order granting liens or
                                      claims that are senior or pari passu to the liens securing
                                      the DIP Facility.

                             The date on which the earliest of clauses (a) through (h) above
                             occurs and the DIP Secured Lender provides written notice
                             thereof to the Debtor being referred to hereinafter as the
                             “Termination Date”. On the Termination Date, the DIP Facility
                             shall be deemed terminated, and the DIP Secured Lender shall
                             have no further obligation to provide financing pursuant to the
                             DIP Facility or DIP Financing Documents.

Non-Default Interest Rate    Interest on all outstanding advances under the DIP Facility shall
and Payment Terms:           accrue from and after the Petition Date at a per annum rate equal to
                             three percent (3.0%) per annum (the “Non-Default Interest
                             Rate”).

Default Interest Rate:       Effective immediately upon the occurrence of an Event of
                             Default unless waived in writing by the DIP Secured Lender,
                             interest on the outstanding loans under the DIP Facility shall
                             accrue at a rate that is two percent (2.0%) per annum in excess of
                             the Non-Default Interest Rate.

Loan Payments:               The Debtor promises and agrees to pay to the DIP Secured
                             Lender all DIP Facility advances, together with interest thereon
                             accruing pursuant to the DIP Financing Documents, in full, in
                             cash, on the Maturity Date.

                             All unpaid principal, interest, fees, costs and expenses in respect
                             of the DIP Facility shall be due and payable in full by the Debtor
                             on the Termination Date, whether at maturity, upon acceleration
                             or otherwise and if such amounts are not paid in full in cash,
                             interest, fees, costs, and expenses in respect of the DIP Facility
                             shall continue to accrue until paid in full.

Use Of Proceeds:             Proceeds of the DIP Facility shall be used solely for the
                             following purposes and only to fund expenditures set forth in the
                             Budget in the amounts set forth in each Budget line item:

                             (a)     to fund post-petition operating expenses and working
                                     capital needs of the Debtor, including, but not limited to,
                                     those activities required to remain in, or return to,
                                     compliance with laws in accordance with 28 U.S.C. §
                                     1930;

                             (b)     to pay interest, fees and expenses to the DIP Secured
                                     Lender in accordance with this DIP Term Sheet (whether



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 55 of 65
                                       or not such amounts are reflected in the Budget); and

                               (c)     to pay certain other costs and expenses of administration
                                       of the Chapter 11 Cases.

                               Proceeds of the DIP Facility or cash collateral shall not be used (a)
                               to permit any Debtor, or any other party-in-interest or their
                               representatives to challenge or otherwise contest or institute any
                               proceeding to determine (i) the validity, perfection or priority of
                               security interests in favor of the DIP Secured Lender or (ii) the
                               enforceability of the obligations of any Debtor or any guarantor
                               under the DIP Facility, (b) to investigate, commence, prosecute or
                               defend (or support any other person or entity in investigating,
                               commencing, prosecuting, or defending) any claim, motion,
                               proceeding or cause of action against the DIP Secured Lender or
                               any of its agents, attorneys, advisors, owners, employees, or
                               representatives including, without limitation, any lender liability
                               claims or subordination claims, (c) to investigate, commence,
                               prosecute or defend (or support any other person or entity in
                               investigating, commencing, prosecuting, or defending) any claim
                               or proceeding or cause of action to disallow or challenge the
                               obligations of any Debtor or any guarantor under the DIP Financing
                               Documents, or (d) to fund acquisitions, capital expenditures,
                               capital leases, or any other similar expenditure other than capital
                               expenditures specifically set forth in the Budget and approved by
                               the DIP Secured Lender.


Cash Management                The Debtor shall use a cash management system that is the same
Collections and Remittances:   as or substantially similar to their pre-petition cash management
                               system. Any material changes from such pre-petition cash
                               management system must be acceptable to the DIP Secured
                               Lender in its sole discretion. The Interim Order and Final Order
                               shall provide the DIP Secured Lender with a valid and enforceable
                               lien and security interest on the cash held in the Debtor’s bank
                               accounts.

Super-Priority                 Amounts owed by Debtor to the DIP Secured Lender pursuant
Administrative Claim:          to the DIP Facility (including all accrued interest, fees, costs and
                               expenses) shall constitute, in accordance with Section 364(c)(1)
                               of the Bankruptcy Code, a claim having priority over any or all
                               administrative expenses of the kind specified in, among other
                               sections, Sections 105, 326, 328, 330, 331, 503(b), 506(c),
                               507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy Code,
                               subject to payment of the UST Fees (such claim, the “DIP
                               Superpriority Claim”).

Collateral Security:           Subject and subordinate only to:

                               (a)      any valid, properly perfected, enforceable, non-avoidable
                                        prior liens and security interests existing as of the Petition
                                        Date (the “Senior Third Party Liens”); and



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 56 of 65
                                    (b)      the payment of UST Fees,

                                    the DIP Facility (including accrued interest, fees, costs and
                                    expenses) shall be secured by first priority senior and priming liens
                                    and security interests (the “DIP Liens”) in all of the Debtor’s
                                    property, including, without limitation, all of Debtor’s existing and
                                    future acquired property and interests of any nature whatsoever,
                                    real and personal, tangible and intangible, accounts receivable,
                                    general intangibles, payment intangibles, supporting obligations,
                                    investment property, commercial tort claims, inventory, rolling
                                    stock, aircraft, machinery, equipment, subsidiary capital stock,
                                    chattel paper, documents, instruments, deposit accounts, contract
                                    rights, and tax refunds of the Debtor, excluding only Avoidance
                                    Actions, but including, subject to entry of the Final Order,
                                    Avoidance Proceeds (collectively, the “DIP Collateral”).

Lien Validation                     All liens authorized and granted pursuant to the Interim Order or
and Perfection:                     the Final Order entered by the Bankruptcy Court approving the
                                    DIP Facility or with respect to adequate protection shall be
                                    deemed effective and perfected as of the Petition Date, and no
                                    further filing, notice or act will be required to effect such
                                    perfection.

506(c) Surcharge/Equities of Case   Upon entry of the Final Order, the Debtor hereby waives any
                                    right to surcharge the DIP Collateral, whether pursuant to
                                    Bankruptcy Code sections 506(c) or 105(a) or under any other
                                    applicable law.

                                    Upon entry of the Final Order, the DIP Secured Lender shall not
                                    be subject to the “equities-of-the case” exception of Bankruptcy
                                    Code section 552(b), or to the equitable doctrines of
                                    “marshaling” or any similar claim or doctrine with respect to any
                                    DIP Collateral.

Fees and Expenses:                  The Debtor shall promptly pay or reimburse the DIP Secured
                                    Lender when requested for all reasonable and documented costs
                                    and expenses of counsel (including, without limitation, local
                                    counsel) and financial advisors for the DIP Secured Lender
                                    relating to the DIP Facility and the administration and
                                    interpretation of, and the enforcement of remedies under, the DIP
                                    Facility, regardless of whether such amounts were incurred prior
                                    to or after the Petition Date, including but not limited to, due-
                                    diligence, duplication or printing costs, consultation, travel, and
                                    attendance at court hearings, regardless of whether the DIP Facility
                                    is consummated. The DIP Secured Lender shall have the right to
                                    charge the DIP Facility for any such fees and costs; and once
                                    charged, such costs shall be added to the total balance of DIP
                                    Facility obligations. Failure to pay such fees and expenses within
                                    ten (10) days of delivery of the applicable fee reimbursement
                                    request (unless the DIP Secured Lender shall have consented to



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 57 of 65
                               charging such amounts to the DIP Facility in lieu of cash payment)
                               shall be an Event of Default under the DIP Facility, provided that
                               the DIP Secured Lender shall concurrently provide copies of any
                               fee reimbursement request to the U.S. Trustee and the Debtor and
                               allow such parties ten (10) days to review and object to any fees
                               or expenses requested therein. If any objection is asserted, the
                               Bankruptcy Court shall decide the issue and the Debtor shall not
                               be required to pay any disputed portion of such fees or expenses
                               until the matter is resolved.

Conditions Precedent to DIP    The closing of the DIP Facility shall be subject to:
Facility Advance:
                               (a)    approval of the Budget by the DIP Secured Lender,
                                      together with all financial information and projections
                                      regarding the Debtor requested by the DIP Secured Lender,
                                      all in form and substance satisfactory to the DIP Secured
                                      Lender in its sole discretion;

                               (b)    entry of a Bankruptcy Court order approving the DIP
                                      Facility, the DIP Liens, and the DIP Superpriority Claim,
                                      and containing such other orders and findings as the DIP
                                      Secured Lender may require, including modification of the
                                      automatic stay after a specified notice period following the
                                      occurrence of an Event of Default enabling the DIP Secured
                                      Lender to exercise certain rights and remedies against the
                                      DIP Collateral, which Bankruptcy Court Order, shall not
                                      have been modified or amended without approval of the
                                      DIP Secured Lender, and shall not have been reversed,
                                      vacated or stayed pending appeal, in form and substance
                                      satisfactory to the DIP Secured Lender in its sole
                                      discretion;

                               (c)    the DIP Secured Lender's approval of all material motions
                                      and orders filed in the Chapter 11 Case requiring the
                                      expenditure of cash;

                               (d)    continuation of Debtor’s present cash management
                                      system; and

                               (e)    the form and substance of this DIP Term Sheet shall be
                                      satisfactory to the DIP Secured Lender in its sole
                                      discretion.

Additional Conditions to the   Each funding of a DIP Facility advance shall also be subject to
Borrowing Under the            the following conditions precedent:
DIP Facility:
                               (a)   there shall exist no Event of Default (or event that would
                                     constitute an Event of Default with the giving of notice or
                                     lapse of time) under any of the DIP Financing Documents,
                                     and the representations and warranties therein shall be true
                                     and correct in all material respects;



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 58 of 65
                             (b)   there shall have occurred no material adverse change in the
                                   Debtor’s operations (financial, environmental, or otherwise),
                                   performance, or properties, since the filing of the Chapter 11
                                   Case, that has or could be expected to have a material adverse
                                   effect on the rights and remedies of the DIP Secured Lender
                                   or on the ability of any Debtor to perform its obligations
                                   under the DIP Facility;

                             (c)   compliance with Bankruptcy Rule 4001, the entry of the
                                   Interim Order and the Final Order (as applicable), together
                                   with any other order requested by the DIP Secured Lender
                                   authorizing and approving the DIP Facility in form,
                                   substance and amount acceptable to the DIP Secured
                                   Lender in its sole discretion;

                             (d)   payment of all fees and expenses owing to the DIP Secured
                                   Lender in connection with the DIP Facility (or the DIP
                                   Secured Lender shall be satisfied, acting in its sole discretion,
                                   that such fees and expenses shall be paid contemporaneously
                                   with the funding of a DIP Facility advance); and

                             (e)   the DIP Financing Documents and the Interim and Final
                                   Orders shall include such waivers, indemnities, and other
                                   provisions as are acceptable to the DIP Secured Lender in
                                   its sole discretion.

Affirmative and              The Debtors shall comply with the following affirmative and
Negative                     negative covenants:
Covenants:
                             (a)   compliance with Budget covenants consistent with the
                                   Section titled “Budget and Variances”; and

                             (b)   no Material Adverse Effect shall occur.

Bankruptcy Court Filings:    As soon as reasonably practicable in advance of filing with the
                             Bankruptcy Court, the Debtor shall furnish to the DIP Secured
                             Lender the drafts of forms of the following (which shall not have
                             been modified or amended upon filing in any material respect
                             without approval of the DIP Secured Lender):

                             (a)   the motion seeking approval of the DIP Facility, which
                                   motion shall be in form and substance satisfactory to the
                                   DIP Secured Lender in its sole discretion;

                             (b)   all other proposed orders and pleadings related to the DIP
                                   Facility (other than the Interim Order or Final Order),
                                   which orders and pleadings shall be in form and substance
                                   satisfactory to the DIP Secured Lender at its sole
                                   discretion;




U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 59 of 65
                             (c)    any plan of reorganization or liquidation, and/or any
                                    disclosure statement related to such plan (which plan or
                                    disclosure statement shall comply with the requirements set
                                    forth herein), which shall be in form and substance
                                    satisfactory to the DIP Secured Lender in its sole
                                    discretion,

                             (iv) any motion seeking approval of any sale of the Debtor’s
                                  assets and any proposed form of a related bidding
                                  procedures order and sale order; and

                             (v)    any other motion filed seeking approval of any matter
                                    requiring material expenditures of DIP Collateral (each of
                                    which must be in form and substance satisfactory to the
                                    DIP Secured Lender in its sole discretion).


Remedies:                    Following the Termination Date or the occurrence of an Event of
                             Default, unless such Event of Default has been waived by the DIP
                             Secured Lender in writing in its sole discretion, the DIP Secured
                             Lender shall be entitled to:

                             (a)    declare all DIP Facility obligations to be immediately due
                                    and payable and/or terminate the Debtor’s use of cash
                                    collateral; and

                             (b)    exercise any remedies available to secured creditors under
                                    applicable law, including, without limitation, the right to
                                    realize on all DIP Collateral, without the necessity of
                                    obtaining any further relief or order from the Bankruptcy
                                    Court.

                             Consistent with the foregoing, section 362 relief from the stay in
                             favor of the DIP Secured Lender, as provided herein, shall be
                             embodied in any order approving the DIP Facility and the use of
                             cash collateral.

Events of Default:           Defaults and Events of Default shall mean the occurrence of any
                             of the following:

                                  The Chapter 11 Case shall be converted to a case under
                                   Chapter 7 of the Bankruptcy Code or be dismissed.
                                  Filing or support of a proposed plan of reorganization by any
                                   Debtor that does not provide for the indefeasible payment in
                                   full and in cash of Debtor’s obligations outstanding under the
                                   DIP Facility, unless otherwise agreed in writing by the DIP
                                   Secured Lender in its sole discretion.
                                  Entry of an order confirming (or the filing of any motion or
                                   pleading requesting confirmation of) a plan of
                                   reorganization that does not require the indefeasible



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 60 of 65
                                 repayment in full, in cash of the DIP Facility as of the
                                 effective date of the plan, unless otherwise agreed in writing
                                 by the DIP Secured Lender in its sole discretion.
                                Appointment of a trustee under Section 1104 of the
                                 Bankruptcy Code without the express written consent of the
                                 DIP Secured Lender, or the filing of any motion or other
                                 pleading requesting such relief which the Debtor fails to
                                 timely oppose.
                                Appointment of an examiner with expanded or enlarged
                                 powers (powers beyond those set forth in Section 1106(a)(3)
                                 and (4) of the Bankruptcy Code) under Section 1106(b) of
                                 the Bankruptcy Code without the prior written consent of the
                                 DIP Secured Lender, or the filing of a motion or other
                                 pleading requesting such relief which the Debtor fails to
                                 timely oppose.
                                Entry of an order by the Bankruptcy Court amending,
                                 supplementing, staying, vacating or otherwise modifying the
                                 DIP Facility, the Interim Order or Final Order approving the
                                 DIP Facility, without the prior written consent of the DIP
                                 Secured Lender or the filing of a motion or other pleading
                                 requesting such relief which the Debtor fails to timely
                                 oppose.
                                Any attempt by any Debtor to obtain, or if any other party in
                                 interest obtains, an order of the Bankruptcy Court or other
                                 judgment, and the effect of such order or judgment is to,
                                 invalidate, reduce or otherwise impair the claims of the DIP
                                 Secured Lender, or to subject any of the collateral of the DIP
                                 Secured Lender to a surcharge pursuant to Section 506(c) of
                                 the Bankruptcy Code.
                                Any Debtor shall request     approval of any post-petition
                                 financing, other than the    DIP Facility, that would not
                                 immediately repay all DIP    Facility obligations, in full, in
                                 cash, on the date of the     closing of such post-petition
                                 financing.
                                Any Debtor shall apply for an order substituting any assets
                                 for all or any portion of the DIP Collateral.
                                Entry of an order granting liens or claims that are senior or
                                 pari passu to the liens granted in favor of the DIP Secured
                                 Lender under the DIP Financing Documents.
                                Any Debtor shall assert that any of the DIP Liens are invalid,
                                 or any DIP Liens granted to the DIP Secured Lender shall be
                                 determined to be invalid.
                                Any payment on, or application by the Debtor for authority
                                 to pay any pre-petition claim owing to terminated employees
                                 or lease rejection damages without prior written consent of
                                 the DIP Secured Lender or as otherwise set forth in the



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 61 of 65
                                 Budget.
                                A final order is entered granting any creditor with a claim in
                                 excess of $25,000 relief from the automatic stay.
                                Failure to make all payments under the DIP Facility when
                                 due.
                                Failure to pay any post-petition material indebtedness.
                                Breach of any covenant set forth in any DIP Financing
                                 Document.
                                Any material representation or warranty by any Debtor is
                                 incorrect or misleading in any material respect when made.
                                Exclusivity shall have been terminated or any Debtor shall
                                 have agreed to any such termination.
                                Any Debtor shall take (or support any other Person in taking)
                                 any action in order to restrict or prohibit the DIP Secured
                                 Lender from submitting a “credit bid” for any assets of the
                                 Debtor.
                             The commencement of an action or filing of a motion
                             challenging the rights and remedies of the DIP Secured Lender
                             under the DIP Financing Documents or that is otherwise
                             inconsistent with the DIP Financing Documents.

Indemnification:             The Debtor hereby indemnifies and holds the DIP Secured
                             Lender, its officers, directors, employees, attorneys, agents, and
                             other representatives (including all of their attorneys and other
                             professionals) (each an “Indemnified Party”) harmless from and
                             against any and all claims, damages, losses, liabilities and
                             expenses (including, without limitation, all fees and expenses or
                             disbursements to attorneys and other professionals) to which any
                             Indemnified Party may become liable or which may be incurred by
                             or asserted against any Indemnified Party arising out of or relating
                             to or in connection with the DIP Facility, the DIP Financing
                             Documents, or any act, event or transaction related or attendant
                             thereto or any use or intended use of the proceeds of the DIP
                             Facility.

Governing Law:               All documentation in connection with the DIP Facility shall be
                             governed by the laws of the state of New York, subject to
                             applicable federal bankruptcy laws.




U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 62 of 65
Other Definitions:           “Approved Budget Compliance Report” means a current
                             report, in form and substance satisfactory to the DIP Secured
                             Lender, that: (i) details the actual amount of cash receipts and
                             disbursements for the prior week for each line item included in
                             the Budget (on a weekly and cumulative basis), (ii) compares
                             such actual cash receipts and disbursements (on a line item by
                             line item basis) with the weekly and cumulative budgeted
                             amounts for each such line item set forth in the Budget for such
                             period, and (iii) provides an explanation for all variances
                             between budgeted and actual amounts. Each Approved Budget
                             Compliance Report will be certified as true and correct by the
                             Debtor’s chief financial officer or chief executive officer.

                             “Avoidance Actions” means any causes of action that could be
                             brought under §§ 544-548 of the Bankruptcy Code or any
                             applicable state fraudulent-transfer statute or similar statute.

                             “Avoidance Proceeds” means the proceeds received from, or
                             property recovered in respect of, Avoidance Actions.

                             “Bankruptcy Code” means Title 11 of the United States Code (11
                             U.S.C. § 101 et seq.), as amended.

                             “Bankruptcy Court” means the United States Bankruptcy Court
                             for the District of Hawaii presiding over the Chapter 11 Case.

                             “Budget” means the budget of the Debtor relative to the
                             operations of the Debtor in the Chapter 11 Case for any fiscal
                             period, as delivered to the DIP Secured Lender in form and
                             substance satisfactory to the DIP Secured Lender in its sole
                             discretion. The Budget may be amended from time to time as
                             may be agreed to by the DIP Secured Lender, in writing, in its
                             sole discretion.

                             “Chapter 11 Case” means the voluntary Chapter 11 cases
                             commenced by the Debtor in the Bankruptcy Court.

                             “Final Order” means a final, non-appealable order of the
                             Bankruptcy Court, that, without limitation, approves the DIP
                             Facility and grants the liens and security interests contained
                             therein, on terms satisfactory to the DIP Secured Lender in its sole
                             discretion.

                             “Interim Order” means an interim order of the Bankruptcy
                             Court authorizing Debtor, among other things, to obtain interim
                             financing and incur post-petition indebtedness on terms
                             satisfactory to the DIP Secured Lender in its sole discretion.

                             “Material Adverse Effect” means (i) a material adverse change
                             in, or a material adverse effect upon, the operations, business,
                             assets, properties, liabilities (actual or contingent) or condition



U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 63 of 65
                             (financial or otherwise) of the Debtor as determined by the DIP
                             Secured Lender acting in its sole discretion; (ii) a material
                             impairment of the rights and remedies of any of the DIP Secured
                             Lender under any of the DIP Financing Documents; (iii) a
                             material impairment of the Debtor to perform any of its
                             obligations under the DIP Financing Documents; or (iv) a
                             material adverse effect upon the legality, validity, binding effect,
                             or enforceability against any Debtor of any of the DIP Financing
                             Documents.

                             “Maturity Date” means the date that is ninety (90) days after
                             the Petition Date, or such later date to which the DIP Secured
                             Lender consents in writing.

                             “Petition Date” means the date on which the Chapter 11 Case for
                             the Debtor was commenced.

                             “Statutory Committee” means any statutory committee
                             appointed in the Chapter 11 Case.

                             “UST Fees” means, unpaid, post-petition fees and expenses of
                             the Clerk of the Court and the U.S. Trustee pursuant to 28 U.S.C.
                             § 1930(a) in such amount, with respect to the U.S. Trustee, as
                             agreed to by the U.S. Trustee or as determined by the Court;
                             provided, however, that the UST Fees shall first be paid from
                             any unencumbered funds (if any) available to the Debtor.




U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 64 of 65
        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed
and delivered by their duly authorized officers as of the date first set forth above.


                                            DEBTOR:

                                            WING SPIRIT INC.


                                            By:
                                            Name:
                                            Title:


                                            DIP SECURED LENDER:

                                            HT HOLDINGS CO. LIMITED

                                            By:
                                            Name:
                                            Title:




 U.S. Bankruptcy Court - Hawaii #20-01383 Dkt # 5 Filed 11/30/20 Page 65 of 65
